                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION
UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )     No. 19-03159-04-CR-S-RK
                                                      )
DANJOUNA A. WIGGINS,                                  )
                                                      )
               Defendant.                             )
                                             ORDER

       Before the Court is Defendant’s Waiver of Appearance at Arraignment. (Doc. 176.)

Defendant, who is charged by Superseding Indictment (doc. 98), waives her right to appear for

arraignment and affirms the following:

            1) she has received a copy of the Superseding Indictment; and
            2) her plea is not guilty.

The waiver is signed by both defense counsel and Defendant.

       Upon review, pursuant to Fed. R. Crim. P. 10(b), the Court accepts the waiver. Defendant

need not be present for arraignment on the Superseding Indictment, and a plea of not guilty is

entered on her behalf as to the single count against her.

       IT IS SO ORDERED.

                                                      /s/ David P. Rush
                                                      DAVID P. RUSH
                                                      UNITED STATES MAGISTRATE JUDGE

DATE: December 2, 2021




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